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                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Care One Home Health, Inc.                                                                 Case No.
                                                                                 Debtor(s)             Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Care One Home Health, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 May 1, 2018                                                         /s/ Rachamin "Rocky" Cohen
 Date                                                                Rachamin "Rocky" Cohen 96305
                                                                     Signature of Attorney or Litigant
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